 Case 2:07-md-01873-KDE-MBN Document 196-12 Filed 05/18/08 Page 1 of 15




                    UNITED STATES DISTRICT COURT.
                    EASTERN DISTRICT OF LO.UISIANA
                        NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                          MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                 SECTION "N-4"
                                             JUDGE ENGELHARDT
                                             MAG. JUDGE ROBY




         DEFENDANT UNITED STATES OF AMERICA’S EXHIBITS
     IN SUPPORT OF ITS MOTION TO DISMISS PLAINTIFFS’ FTCA AND
    CONTRACT CLAIMS FOR LACK OF SUBJECT MATTER JURISDICTION




                            U.S. EXHIBIT NO. 9
   Case 2:07-md-01873-KDE-MBN Document 196-12 Filed 05/18/08 Page 2 of 15

                                        HUD-O00001




49 FR 31996-01                                                                  Page 1
49 FR 31996-01, 1984 WL 106759 (F.R.)
{Cite as: 49 FR31996)
                                RULES and REGULATIONS
                     DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT
     Office of the Assistant Secretary for Housing-zFederal Housing Commissioner
                                   24 CFR Part 3280
                           [Docket No. R-84-I068; FR 1637]
                 Manufactured Home Construction and Safety Standards
                               Thursday, Aug,/st 9, 1984
*31996 AGENCY: office of the Assistant Secretary for Housing--Federal Housing Com-
missioner, HUD.

ACTION: Final rule.

suMMARY: HUD is .revising its Manufactured Home Construction and Safety Standards
to improve the safety and quality of manufactured homes.    Standards limiting per-
missible amounts of formaldehyde emissions from plywood and pa~ticleboard are be-
ing added.    Standards relating to fire safety are being revised.

EFFECTIVE DATE: October 29, 1984.

FOR FURTHER INFORMATION CONTACT: Richard A. Mendlen, Manufactured Housing Stand-
ards Division, office of Manufactured Housing and Regulatory Functions, Room 9154,
Department of Housing and Urban Development, 451 Seventh Street, S.W., Washington,
D.C. 20420.    Telephone (202) 755-5798. (This is not a toll-free number.)

SUPPLEMENTARY INFO~TION:

I. Background

A . General

The National Manufactured Housing ~onstruction and Safety Standards Act of 1974,
42 U.S.C. 5401-~427 (Act), ahthorizes the Secretary~of Housing and Urban Deve!op-
ment (Secretary) to establish and amend the Manufactured Home Construction and
Safety Standards, 24 CFR Part 3280 (Standards).   The Stated purposes of the Act
are "toreduce the number of personal injuries and deaths and the amount of insur-
ance costs and property damage resulting from manufactured home accidents and to
improve the quality and durability of manufactured homes." Changes to the fire
safety standards and the addition of standards on formaldehyde emissions from
    Case 2:07-md-01873-KDE-MBN Document 196-12 Filed 05/18/08 Page 3 of 15

                                         HUD-000002




49 FR 31996-01                                                                  P~ge 2
49 FR 31996-01, 1984 W-L 106759 (F.R.)
(Cite as: 49 FR 31996)

particleboard and plywood are being adopted in accordance with these purposes.
In accordance with the Act, these rules-will take effect 180 days from-the date of
this publication. 42 U.S.C. 5403(c).

B. Advance Notices of Proposed Rulemaking

The Department published an Advance Notice of Proposed Rulemaking (ANPR) on June
7, 1979, soliciting comment concerning revision of the Standards (44 FR 32711).
Generally, the industry responded that cost effectiveness and clarity of object-
ives should be the Department’s primary concerns in evaluating the need for change
in the safety and durability areas cited in the ANPR. Consumers and associated
groups expressed the view that manufactured homes lacked the qualities necessary
to make the homes as durable a~d safe as they desire.

Another ANPR, directed solely at the issue of formaldehyde emissions in manufac-
tured homeS, was published on August 28, 1981.     That ANPR solicited comment on 21
different aspects of formaldehyde outgassing, including adverse health effects,
test methods, and the economic impact of regulation.      Comments were submitted by
individual consumers and consumer organizations, manufactured home builders, wood
product producers~ trade associations, government agencies, universities, and the
chemical industry~ ..... The major issues raised in the comments included the need for
a formaldehyde standard and whether a standard should regulate the amount of form-
i
aldehyde in the total home environment or the amo~Int emitted from the major
sources of formaldehyde in the home.     Other issues addressed in the comments in-
cluded the adverse health effects associated with exposure to formaldehyde, sens-
itigation, test methods, regulatory alternatives’, and warning notices.

C. Proposed Rule

On August 16, 1983, the Department publishe~ a proposed rule. revising all Sub-
parts of the Standards ’(48 FR 37136).    The comment period was held open until 30
days after a cost Impact Analysis was made avail~ble for public inspection.     On
March 9, 1984, a Notice of the availability of the Coast Impact Analysis was pub-
lished~ (49 FR 8946). Accordingly, the comment period closed on April 9, 1984.
The Department received 253 comments, many of them quite extensive.     To expedite
the implementation of those standards which would have-the greatest effect on pub-
lic health and safety, the Department determined that the regulations concerning
fire safety and formaldehyde should be separated from the other proposed revisions
and published for effect as soon as possible.     The comments on the fire safety
and formaldehyde standards are discussed below.     The Department is continuing its
review of the remaining comments and will take appropriate action on the other
proposed standards when the analysis of the comments is iomplete.

D. The Wational Manufactured Home Advisory Council

The Act provides for a National Manufactured Home Advisory Council comprised of
24 members divided equally among the industry, government agencies, and consumer
    Case 2:07-md-01873-KDE-MBN Document 196-12 Filed 05/18/08 Page 4 of 15

                                        HUD-00~3003




49 FR 31996-01                                                                Page 3
49 FR 31996-01, 1984 WL 106759 (F.R.)
(Cite as: 49 FR 31996)

groups.    The Act directs the Secretary to consult with the Advisory Council, to
the extent feasible, before establishing, amending, or revoking any Standard (42
U.S.C. 5404).

In September 1983, the Council was convened to review the proposed revisions
which had been published in August.    Subcommittees of the Council met in workshop
sessions for thr~e days and then presented reports which were voted upon by the
full Council.    Several changes were made to the rule based upon the Council’s re-
commendations.    Copies of the Advisory Council Subcommittee reports are part of
the Department’s rulemaking record and are available for public inspection.

II. Formaldehyde Regulation

A, General

The Department has concluded that a Federal Standard designed to limit formalde-
hyde emissions in manufactured homes should be adopted.    The formaldehyde rule is
a product standard which limits the level of formaldehyde emitted fro~ particle-
board floor decking and .cabinetry and from interior plywood installed in manufac-
tured homes.    The rule requires that formaldehyde emissions not exceed 0.2 parts
per million (ppm~ from plywood and 0.3 ppm from particleboard as measured b) a
specified air.chamber test.    Generally, mmnufactured home manufacturers must use
only particleboard and plywood that comply with these e~ission standards and are
certified as meeting’the standards.

B. Regulatory Alternatives

There were a substantial number of comments concerning whether the HUb formalde-
hyde standard should limit formaldehyde emissions from specific products installed
in the home (product stgndard) or the overall amount of formaldehyde in the home
environment (ambient standard).   In choosing a. product standard, the Department
considered effectiveness, quality control, and ease of enforcement.

*31997 I. Ambient Standard

Many commenters, especially State agencies, endorsed the use of an ambient stand-
ard that would limit the level of formaldehyde in the home despite variations in
temperature, humidity, ventilation, and living habits.    These sources stated that
an ambient standard would ensure the maintenance of a safe level of formaldehyde
in the home by limiting outgassing from all sources of formaldehyde used in the
home’s construction.    Some of the commenters expressed concern that a product
standard would protect ~ome manufacturers from claims regarding homes that have
high levels of formaldehyde but that are built with products certified as meeting
a product standard.    Other co~menters indicated that a product standard would un-
fairly single out the wood products industry, which is not responsible for the ul-
timate construction of the home.
                  Case 2:07-md-01873-KDE-MBN Document 196-12 Filed 05/18/08 Page 5 of 15

                                                     HUD-000004




           49 FR 31996-01                                                                    Page 4
           49 FR 31996-01, 1984 WL 106759 (F.R.)
           (Cite as: 49 FR 31996)

            According to some of these commenters, an ambient standard would not be difficult
           "to enforce.    They stated that there are ambient test methods available which are
            accurate and inexpensive.    One such method cited was a formaldehyde dosimeter
            used by several States and Canada.    Proper ambient test procedures, stated these
            sources, can eliminate homeowner contribution and compensate for differences in
            temperature and humidity.    Some s~ggeste~ that, to enforce t~e standard, ambient
            testing could be done on prototype or randomly selected homes.

           of those commenters urging the adoption of an ambient standard, levels from
           ppm to 0.4 ppmwere suggested. Many commenters indicated that a 0.4 ppm standard
           could be met using currently available technology.    Some sources recommended that
           a 0.4 ppm standard be adopted now and that lower levels be designated to take ef-
           fect ove~ the next few years, thus gradually phasing in a 0.I ppm standard.    Oth-
           ers argued that, to protect the health of manufactured home occupants, no greater
           than a 0.i ppm standard should be adopted. (Health effects associated with formal-
           dehyde exposure are discussed below.)

               Finally, several commenters suggested that an ambient standard could be used in
               conjunction with a product standard.    These commenters stated that an end result
               specification is necessary as a cross-check to any product standard.

........       2. Product Standard

       ., Man.y commenters, especially those from the manufactured home industry, endorsed
          the use of a product standard.    These commenters cited the unreliability of ambi-
          ent measurements because of differences in temperature, humidity, ventilation, and
          lifestyle of the home occupants.     Consumers, they said, could bring other formal-
          dehyde contributors into the home over which the manufacturer has no control.
          Several of these sources also cited the Department’s research study conducted by
          Clayton Environmental Consultants, the Nationa!. Particleboard Association, and the
          Hardwood Plywood Manufacturers Association ("Evaluation of the Relationship
          Between Formaldehyde Emissions From Particleboard Mobile Home Decking and Hardwood
          Plywood Wall Paneling in Experimental Mobile ~omes" (March 1982)).    This study
          determined that a wood product standard can effectively reduce the amount of form-
          aldehyde in the home environment.    Finally, these commenters also stated that am-
          bient test methods are more costly and less reliable than test methods.

           3. Selection of a Product Standard

           The Department has decided to adopt product standards.    The Clayton study cited
           above establishes that a product standard can be effective and that product test
           values reasonably correlate to formaldehyde levels in homes. Products can be
           tested easily under standardized conditions, which will avoid the problem of com-
           pensating for variations in home temperature and humidity levels.    Also, a
           product standard has the advantage of allowing for early detection of a potential
           formaldehyde problem.    Unlike the violation of an ambient standard, which can be




           I
         Case 2:07-md-01873-KDE-MBN Document 196-12 Filed 05/18/08 Page 6 of 15

                                              HUD-000005




     49 FR 31996-01                                                                      Page 5
     49 FR 31996-01, 1984 WL 106759 (F.R.)
     (Cite as: 49 FR 31996)

     established only after a manufactured home has been completely assembled,.viola-
     tion of a wood product standard can be discovered before the wood .is shipped by
     its supplier or installed in a home. Therefore, based on its effectiveness, the
     availability of reliable test methods, and the potential to prevent formaldehyde
     problems before the.homes are sold, the Department has concluded that a product
     standard i~ appropriate.

     The standards will cover particleboard and plywood, two of the major emitters of
     formaldehyde in manufactured homes.   HIYD’s objective in implementing these stand-
     ards is to reduce the level of formaldehyde within the home environment. It is
     HUD’s intention that these standards preempt State and local formaldehyde stand- "
     ards in accordance with the Act (42 U.S.C. 5403(d)).

     C. The .Adopted Product Standards (~ 3280.309(a))

           The formaldehyde standards will limit emissions from plywood anh particleboard
           produced with resins or surface finishes containing formaldehyde.    The standards
            do not apply to wood products that cannot be characterized as plywood or particle-
           board, most notably medium density fiberboard (MDF).    Rulemaking is being initi-
            ated to determine the extent tb which MDF and similar products contribute to form-
            aldehyde levels in manufactured homes and how these products should be regulated,
........ .. if at al!.

   ’ I. Plywood Standard

     The proposed rule would have prohibited the use of plywood that. emits ’more thin
     0.2 ppm formaldehyde when tested in a large air chamber in manufactured homes.     A
     significant number of commenters from the wood products industry urged that the
     permissible limit be raised from 0.2 to 0.25 ppm.    These commenters said that
     0.25 ppm reflects current technology and provides a sufficiently wide margin to
     meet the Department’s anticipated ambient result. (See Targeted Ambient Level, be-
     low.)    Further, they said that a 0.2 ppm standard is too restrictive because it
     would require too much costly retesting under the testingprotocol proposed.
     Several of these commenters stated that an appropriate means of chafiging the pro-
     posed plywood standard to 0.25 ppm and of regulating formaldehyde in general would
     be to incorporate by reference the Hardwood Plywood Manufacturers Association’s
     voluntary standard.

     Other representatives from both the wood pro&ucts and manufactured home indus-
     tries supported the 0.2 ppm level and said that it is being met at this time.     A
     major manufacturer of manufactured homes stated that it was certain, based on in-
     formation obtained from its wood product suppliers, that the proposed level was
     being achieved.    One commenter stated tha~ plywood that emits at only 0.15" ppm
     formaldehyde is being produced.

     A number of consumers and academic sources stated that it was imperative that the
    plywood standard be lowered.    These commenters expressed the opinion that the in-
    Case 2:07-md-01873-KDE-MBN Document 196-12 Filed 05/18/08 Page 7 of 15

                                        HUD-O00006




49 FR 31996-01                                                                Page 6
49 FR 31996-01, 1984 WL 106759 (F.R.)
(Cite as: 49 FR 31996)


dustry cohld produce plyw.ood that would emit at levels below 0.2 ppm and stated
that a lower standard is necessary to protect the health of manufactured home oc-
cupants.

The Department has decided to adopt a 0.2 ppm plywood standard.    The 0.2 ppm
standard is reasonable, can be met *31998.consistently in production, and gives a
margin for error in achieving the 0.4 ppm targeted ambient level in the home.
The Department does not have adequate information or data upon which to base a de-
cision to lower the plywood standard below 0.2 ppm.    The proposed testing proced-
ures have been revised to avoid the high cost of retesting that may be necessary
to meet the 0.2 ppm standard. (See Testing Requirements, below.)

2. Pa~ticleboard Standard

The proposed rule would have prohibited the use of particleboard in manufactured
homes that emits more than 0.3 ppm formaldehyde when tested in a large air cham-
ber.    Virtually al! of the~industry representatives who commented on the
particleboard standard approved the 0.3 ppm level. Generally, these commenters
stated that the technology to consistently produce particleboard that meets this
standard is currently available.    Recently, the National Particleboard Associ-
ation (NPA) adopted a voluntary standard of 0.3 ppm. According to the NPA, major
producers of particleboard already comply with the 0.3 ppm standard.

The resp6nse from consumers and several other sources on the particleboard stand-
ard was much like the response to the plywood standard.    Basically, these com-
menters objected to the 0.3 ppm level as being too high.    Some consumers and rep-
resentatives from the wood products industry stated that the industry could pro-
duce lower-emitting particleboard at this ~ime.    A few consumers felt that urea-
formaldehyde-based particleboard was so significant an emitter that it should be
banned from use in manufactured homes.

The Department has decided to adopt a 0.3 ppm particleboard standard. ¯ This
level was endorsed by the Advisory Counci! when it met in September 1983. Further,
Ehis standard can consistently be met in the production of particleboard.    Fi-
nally, the Department does not have sufficient verifiable information or data to
justify lowering the particleboard standard below this level.

3. Phenol-Formaldehyde Resin Exemption

The p~oposed formaldehyde standard would have covered all particleboard and ply-
wood which contain formaldehyde.

Most of the plywood and particleboard’used in manufactured homes is produced with
urea-formaldehyde resins.    Manufacturers of phenol-formaldehyde-based wood
products, which are used in some manufactured homes, objected to the application
of the standard to their materials.    They submitted information demonstrating
that phenol-formaldehyde resin is much more stable than th~ urea-based resins and
    Case 2:07-md-01873-KDE-MBN Document 196-12 Filed 05/18/08 Page 8 of 15

                                        HUD-000007




49 FR 31996-01                                                                Page 7
49 FR 31996-01, 1984 WL 106759 (F.R.)
(Cite as: 49 FR 31996)

that products made with phenol-basedresins emit formaldehyde at a".much lower
rate.    The pheno!-based products emit such small quantities of formaldehyde that
the standards for both plywood and particleboard are met easily.    Thus, requiring
that these products be tested and certified is not necessary.

Therefore, the Department has decided to exempt products that are formulated ex-
clusively with phenol-forma’Idehyde resins and surface finishes from the testing
and certification provision of the rule.

4. Medium Density Fiberboard (MDF)

The proposed rule did not spec~fically mention medium density fiberboard or any
other formaldehyde-based wood product except plywood and particleboard.

There was sdme confusion expressed in the c~mments as to precisely which wood
~roducts were to be covered by the proposed rule.    One manufacturer of wood
products stated that the terms "plywood" and "particleboard" are generic and in-
clude.medium density fiberboard and other wood products.    Other industry sources
simply questioned the coverage of the rule.and requested clarification.    Still
other commenters assumed that MDF was not covered and recommended that HUD initi-
ate rulemaking on this product.

The proposed rule would have covered all forms of ~l~-~od and parhicleboard in-.
cluding waferboard, flakeboard, and chipboard.     MDF is a product which is not
generally accepted by the industry as either plywood or particleboard.. Since the
publication of the proposed rule, the Department has learned that MDF is used in
manufactured homes, particularly in cabinetry, and that it is a high emitter of
formaldehyde unless.properly sealed.    When used unsealed in a manufactured home,
MDF could be a major contributor to the home’s overall formaldehyde livel.
Therefore, the’Department is preparing an Advance Notice of Proposed Rulemaking
 (ANPR) on MDF and any other formaldehyde-emitting wood products which are used in
manufactured homes and which were not covered by the proposed rule.     The ANPR
will solicit comment on the identity of such products/ the extent to’which they
emit formaldehyde, and how they could be regulated.

D. Targeted Ambient Level

The Department has concluded that an indoor ambient formaldehyde level of 0.4 ppm
provides reasonable protection to manufactured home occupants.    The Department
has determined that the.p~ywood and particleboard standards will result in indoor
ambient formaldehyde levels of not greater than 0.4 ppm when: (I) The indoor tem-
perature does not exceed 77 F; (2) the indoor relative humidity level does not
exceed 50%; (3) the home’s ventilation rate is at least 0.5 air chaAge per hour
 (ACH); and (4) there are no other major emitters of formaldehyde, such as MDF,
installed in the home.

I. Home Conditions
    Case 2:07-md-01873-KDE-MBN Document 196-12 Filed 05/18/08 Page 9 of 15

                                        HUD-000008




49 FR 31996-01                                                                Page 8
49 FR 31996-01, 1984 WL 106759 (F.R.)
(Cite as: 49 FR 31996)

There was a considerable amount of disagreement in the comments concerning how
often the 0.4 ppm level would be exceeded in the home.    Many commenters stated
that, given the conditions which must exist to achieve a 0.4 ppm ambient level, it
is likely that homes constructed with plywood and particleboawd that meet the
standard will, at times, exceed 0.4~ppm.    Some of these commenters said that the
0.4 ppm target would be exceeded quite often, especially in the summer months.
One source expressed the opinion that, even if the stated environmental conditions
are met, the ambient level in the home will be 0.5 ppm.    Still other commenters
said that the proposed product standards leave an adequate margin to achieve 0.4
ppm in the home, even if there are other sources of formaldehyde present or if the
air exchange rate is less Lhan 0.5.ACH.

(a) Temperature and humidity conditions. There was general agriement in the com-
ments that increases in temperature and humidity increase formaldehyde emission
rates.    This was of Particular concern to commenters from the southern States.
They stated that 77 F and 50% relative humidity are exceeded often in their
States.    A major consumer organization reported that these temperature and humid-
ity conditions would be exceeded most often in States with the highest manufac-
tured home populations, citing Florida, Texas, and California specifically.    One
State claimed that the Department was ignoring its statutory mandate by not con-
sidering the geographica! location 0f the regulated homes in developing the form-
aldehyde rule. (See 42 U.S.C. 5403(f) (~) .)

The Department realizes that t~e selected temperature and humidity conditions
will not be met in all homes at all times.    These conditions are *31999 reason-
able, however, and do reflect typical living conditions.    The Department does not
have sufficient data at this time to substantiate that there is a particular prob-
lem in the southern part of the country.    Once the formaldehyde rule takes ef-
fect, the Department wil! monitor homes and evaluate complaints to determine
whether there is a greater problem in the Sduth and to assess the effectiveness of
the standards generally.    Further, the health notice which must be posted in all
manufactured homes specifically warns purchasers about the effects of heat and hu-
midity on formaldehyde emissions. (See Air Quality Notice, below.)

 (b) Ventilation. Other commenters concentrated more on the 0.5 ACH condi-
tion. The comments demonstrated that, while not as significant as temperature and
humidity, reduced air changes also raise the level of formaldehyde in the home.
Accord&ng to some sources, the 0.4 ppm level will not be achieved unless ventila-
tion also is controlled.     These commenters stated that the average air exchange
rate in manufactured homes is 0.3 ACH with the heating/cooling system operating.
One source said that in the spring and fall, when no such system is used, air
changes can fall to 0.I and 0.2 ACH.

The Department does not have adequate information about the effect of ventilation
dn air quality to require mandatory air change requirements. However, HUD does re-
cognize that, generally, better ventilation results in reduced formaldehyde
           Case 2:07-md-01873-KDE-MBN Document 196-12 Filed 05/18/08 Page 10 of 15

                                                 HUD-O00009




/ ., 49 FR 3!996-0!                                                                    Page 9
       ! 49 FR 31996-01, 1984 WL 106759 (F.R.)
         (Cite as: 49 FR 31996)

       levels.    Therefore, the Department has decided to require that a ventilation im-
       provement option be offered with each manufactured home. (See Ventilation and Oth-
       er Options, below.)

        (c) Other sources of formaldehyde. There was some concern expressed in the com-
        ments about.the introduction of sources of formaldehyde other than plywood and
        particleboard into the home by either the manufacturer or purchaser.    One com-
        menter said that other formaldehyde contributors typically raise the indoor level
        to over 0.7 ppm.    Another commenter stated that the formaldehyde-emitting
        products brought into the home by the occupants are not a significant prob-
        lem. This source’relied on a widely recognized theory that the highest emitter
       .present "in the home is the most significant determinant of &he home’s overall
        formaldehyde level and concluded that it is usually the manufacturer who installs
        the highest formaldehyde emitters in the home.

       A related concern ~xpressed in the comments is that the installation of unusually
       l~rge amounts of plywood and particleboard in the home could cause the a~bient re-
       sponse, to be higher than0.4 ppm.     According to these sources, by increasing the
       loading rates of these products in the home, a manufacturer can push the home’s
       formaldehyde level beyond 0.4 ppm but still be in compliance with the HUD stand-
       ard.    One com~enter suggested that, to address this problem, the Department regu-
  ...........
     ¯ . late the loading rate of plywood and particleboard in manufactured homes.
!,.   . The Department believes that the product standards of 0.2 ppm and 0.3 ppm for
        plywood and particleboard, respectively, will themselves, unde~ test conditions,
         result in emissions of sufficiently less than 0.4 ppm to allow for a certain
         amount of formaldehyde contribution from other sources.     Therefore, even if car-
        pets, drapes, or furniture which contain formaldehyde are installed in the home,
         the Dep~rtment believes that the 0.4 ppm target will not be exceeded if the re-
         quisite temperature,’ humidity, and ventilation conditions exist.    However, the
        Department realizes that levels higher than 0.4 ppm will result when other major
         emitters of formaldehyde that are not covered by the rule, such as MDF, are used
         in the home.    For this reason, IIUD is initiating rulemaking to identify these
        products and to determine how they should be regulated. (See Medium Density Fiber-
         board, above.)    Further, the Department believes’that the loading rates of
         particleboard and plywood do not typically vary enough to affect formaldehyde
         levels significantly.    Again, the margin for error allowed by the product stand-
         ards is sufficient to permit loading rates greater than usual.

        2. Health Effects

        There was considerable’dis&greement in the comments regarding the adequacy of 0.4
        ppm to protect manufactured home occupants from discomfort and from acute and
        chronic health effects.    Some commenters stated generally that this level is too
        high to protect home occupants’ health.    Others said that .there is ample medical
        and scientific evidence to support the 0.4 ppm level.     Several commented that the
        Case 2:07-md-01873-KDE-MBN Document 196-12 Filed 05/18/08 Page 11 of 15

                                              HUD-O00010




     49 FR 31996-01                                                                     Page 10
     49 FR 31996-01, 1984 WL 106759 (F.R.)
     (Cite as: 49 FR 31996) .

     target 0.4 ppm level is obsolete, pointing out that the Depa[tment’s product
     standards do not reduce levels below those voluntarily achieved by the industry.
     HUD believes that the product standards will rgsult in a 0.4 ppm indoor level un-
     der the specified conditions ind that this level, given economic considerations,
      is reasonable.    The Department realizes that this targeted level will not be
      achieved at all times.    However, the currently available medical and scientific
      evidence does not adequately establish the effect on health benefits of a level
     ¯ below 0.4 ppm.    In any event, it is not possible to implement a formaldehyde
      standard that will pro~ect the entire population.
      (a) Acute health effects and threshold levels. The extent, intensity, and dura-
     tion of symptoms caused by exposure to formaldehyde vary, depending on the indi-
     vidual and the level of formaldehyde in the home.    Common complaints include e~e,
     nose, and throat irritation, persistent cough, skin irritation, nausea, headache,
     dizziness, and respiratory distress.    The symptoms usually diminish or disappear
     when the individual leaves the home.

       Several commenters stated that the 0.4 ppm target ambient level is too high to
       protect the majority of manufactured home occupants from odor and irritation.
       Consumers wrote letters relating their personal experiences with formaldehyde, in
  .........
     . some cases attaching letters from physicians and results of tests measuring the
[    ~ levels of formaldehyde in their homes.        These letters chronicled the occurrence
     )    of acute symptoms at levels as low is 0.15 ppm.   A comment from. one State agency
       reported that the agency receives many complaints froN people in homes where form-
       aldehyde levels were measured between 0.I ppm and 0.4 ppm.        Another State agency
       submitted the results of a study it funded that preliminarily analyzed acute symp-
       tomatology and found no association with formaldehyde concentrations in indoor air.
     Other commenters submitted evidence showing, varying degrees of functional dis-
     turbance and respohse to low levels of formaldehyde.    Severa! commenters stated
     that 20% of the population will experience slight irritation at levels from 0.05
     ppm to 0.5 ppm.    A major industry trade associatio~ said that the irritation
     threshold is between 0.8 ppm to 1.2 ppm and that the general population will not
     exiDerience adverse effects from exposure to 0.5 ppm formaldehyde.
     The Department has concluded that there is insufficient medical and scientific
     evidence to substantiate more than minimal health benefits when formaldehyde
     levels are reduced below 0.4 ppm.     Studies of human exposure to formaldehyde
     still do not conclusively establish whether there is a level of formaldehyde that
     will not cause acute symptoms.      Therefore, ~ continues to rely on the Committee
     on Toxicology’s conclusion that there is no population threshold for the irritant
     effect of formaldehyde in humans (Report, Committee on Toxicology, National
     Academy of Sciences, Formaldehyde--*32000 An Assessment of Its Health Effects,
     NTIS Doc. No. ADA-08’785g, April 1980)."
        Case 2:07-md-01873-KDE-MBN Document 196-12 Filed 05/18/08 Page 12 of 15

                                             HUD-O00011




     49 FR 31996-01                                                                  Page 11
     49 FR 31996-01, 1984 WL 106759 (F.R.)
     (Cite as: 49 FR 31996)

      (b) Sensitization and Susceptible Groups. Exposure to formaldehyde gas Causes
      sensitization in certain individuals.    Sensitized persons exhibit allergic reac-
     tions when exposed to formaldehyde.     Also, certain groups are more susceptible to
     the acute irritant effects of formaldehyde than the general population.     These
      include persons with a history of allergies or respiratory diseases, elderly per-
     .sQns, and children, especially infants.
     Commenters.disagreed strongly as to whether formaldehyde gas is a sensitizer and,
     if so, how many people were likely to become sensitized.    One commenter stated
     that sensitization can occur in 1-5% of the population; another maintained that
     there is little evidence that exposure to formaldehyde produces any pulmonary
     sensitization reaction.    A few consumers submitted histories of their own or
     their families’ sensitization, including confirmation from their doctors.

     Virtually all commenters agreed, however, that certain populations seem to be
     particularly susceptible to formaldehyde’s irritant effects.    Severa! commenters
     emphasized that the groups that are most sensitive to formaldehyde are those who
     are most likely to stay in the home for extended periods of time, such as the eld-
     erly, the infirm, and infants.    One source said that a 0.4 ppm ambient air level
     will expose these persons to a cumulative formaldehyde exposure in excess of the
     National Institute for Occupational Safety and Health’s recommended occupational
...........
   . exposure of 1.0 ppm per 40-week.    Another.commenter said that a State has estim-
i’ "~ ated that nearly two millio~ high-risk,.particularly susceptible persons now live
~  ]     in manufactured homes.

     The Department realizes that there are people who will react adversely to ex-
     tremely low levels of formaldehyde and who are unusually sensitive to formalde-
     hyde’s irritant effects.    The C6mmittee on Aldehydes of the National Academy of
     Sciences stated that 10-12% of the population may have some degree of airway hy-
     peractivity which will result in a more severe response to the effects of formal-
     dehyde exposure.’ (Formaldehyde and Other Aldehydes, Committee on A~dehydes, Board
     on Toxicology and Environmental Health Hazards, Assembly of Life Sciences, Nation-
     al Research Council, 1981.)    To alert those people who may be sensitive to form-
     Nl~ehyde, the Department is requiring that a health notice be posted in every man-
     factured home and placed in each home’s consumer manual. (See Air Quality Notice,
     below.)
      (c) Chronic health effects and carcinogenicity. Respiratory illnesses reported to
     be caused by chronic formaldehyde exposure include difficulty in breathing and
     other asthma-like symptoms, persistent cough, and chest congestion. Further, stat-
     istically significant incidences of nasal cancer (squamous cell carcinoma) occured
     in rats exposed to 15.0 ppm formaldehyde gas (Final Report: A Chronic Inhalation
     6f Toxicology Study on Rats and Mice Exposed to Formaldehyde, CIIT/Batelle Labor-
     atories, 1981).

     In terms of chronic health effects, the comments primarily focused on the carci-
   Case 2:07-md-01873-KDE-MBN Document 196-12 Filed 05/18/08 Page 13 of 15

                                        HUD-000012




49 FR 31996-01                                                                Page 12
49 FR 31996-01, 1984 WL 106759 (F.R.)
(Cite as: 49 FR 31996)

nogenid risk posed by exposure to formaldehyde.    Generally, the Commenters were
divided into those who believe that formaldehyde should be presumed to be a human
carcinogen and those who maintain that there are sufficient human epidemiological
and animal studies to conclude that formaldehyde presents a cancer risk to hu-
mans.    A State Attorney General criticized the Department for failing to take a
.position on this issue, citing a report from the Congressional Office of Techno-
logy Assessment which concluded that, in the absence of epidemiological data con-
cerning a substance’s effect on humans, bioassays on carcinogenicity in animals
should be used to identify potentia! human carcinogens.

Among tho~e commenters who presumed that formaldehyde is a human-carcinogen,
there was disagreement regarding the extent of the risk presented by exposure toa
leve! of 0.4 ppm.    Some commenters said that, using the highest level of exposure
in the. CIIT study, 15.0 ppm, and applying a safety factor of I00, there is a sig-
nificant level of risk at 0.15 ppm.    These commenters asserted that this method
of ca!culation is conservative because, when no ihreshold is known, a 1000-fold or
greater safety factor often is used.    This conclusion was used as a basis for re-
commending that the a~propriate ambient formaldehyde level is no more than 0.I
ppm.    Other commenters said that the animal and human studies performed to date
establish that the cancer risk at 0.4 ppm formaldehyde is virtually nonexistent.
A large compilation of studies and reports was submitted by the Formaldehyde In-
stitute showing that there is no basis, at this time, for treating formaldehyde as
a human carcinogen.

On May 23, 1984, the Environmenta! Protection Agency designated formaldehyde for
expedited regulatory action under section 4(f) of the Toxic Substances Control Act
(TSCA) (49 FR 21870).    In the publication, EPA stated that there may be a reason-
able basis to conclude that formaldehyde presents a significant risk of widespread
harm to humans from cancer.    The EPA determined that there are animal data on
formaldehyde that can be used to assess the human cancer risk.     One of the expos-
ure categories to which the section 4(f) decision applies is the exposure associ-
ated with residence in manufactured homes.

In addition, the Executive Office of the President, Office of Science and Techno-
logy Policy, issued a draft document containing guidelines to be used by regulat-
ory agencies in assessing cancer risks from chemicals (49 FR 21594) (May 22,
1984).. The Department has reviewed these guidelines and will evaluate them fur/
the~ when the final report is issued.

The Department will monitor the EPA’s regulatory progress closely.    In its May
23rd publication, the EPA clearly stated that its decision does not mean that the
agency believes that formaldehyde presents short-term emergency risks. Further,
the EPA stated that "information available to the Agency does not indicate that
people should substantially change their habits if they are being exposed to some
level of formaldehyde." Therefore., the Department does not believe it would be ap-
propriate to change the formaldehyde product standards in response to the section
   Case 2:07-md-01873-KDE-MBN Document 196-12 Filed 05/18/08 Page 14 of 15

                                        HUD-000013




49 FR 31996-01                                                               Page 13
49 FR 31996-01, 1984 WL 106759 (F.R.)
(Cite as: 49 FR 31996)

4(f) designation.    The Department will reevaluate the formaldehyde standards when
the EPA reaches a final regulatory decision and may change the standards ’if t~e
basis for EPA’s findings show that these standards are not adequate to protect the
~ealth of manufactured home occupants.

Because the scientific community has not resolved the human carcinogenic issue,
~ has not taken a position as to whether formaldehyde causes cancer in humans.
 (See the discussion of this issue in the proposed rule (48 FR 37136, 37138).)

E. Ventilation and Other options (§ 3280. 710 (g))

The Department received many comments which suggested methods.by which formalde-
hyde levels could be reduced.    Some suggested methods of reducing the amount .of
formaldehyde emitted from the wood products so that the product standards could be
met or bettered.    These methods included using sealants, such as varnishes,
paints, sealers, and liquid fire-retarding saturants; coating systems, including
water-based finishing coats; scavengers, *32001 such as wax, ammonia, and other
chemicals; low mole resin (low formaldehyde-to-urea ratio); pretreatment of’
particles; and covers or veneers.

Other commenters suggested ways to reduce the overall formaldehyde level in the
home.    These methods included substituting other products for urea-form-
aldehyde-based particleboatd and plywood, venting wall and floor cavities, spe-
cifying a maximum loading ratio for particleboard and plywood, and installing va-
por barriers.

The’Department has limited information on most of the methods of reducing formal-
dehyde levels suggested in the comments.    The commenters did not provide and the
Department does not have sufficient data on the cost or effectiveness of any meth-
ods to mandate the use of any one in particular.    The Department will seek fur-
ther comment on methods of reducing formaldehyde levels in the home in the ANPR
which is being prepared. (See Medium Density Fiberboard, above.)    A significant
nUmber of comments recommended ventilation as an effective means of reducing in-
door formaldehyde levels.    Many of these were comments which generally stated
that better ventilation will lead to improved air quality.    Other commenters ex-
pressed opinions on specific methods of ventilating the home.    One source stated
that the addition of outside air will provide a modest reduction in short-term
formaldehyde levels but that there is a more significant-impact on long-term
levels.

The .Department agrees that, generally, improved ~entilation reduces the amount of
formaldehyde in the home.    Therefore, the Depa[tment is requiring that.manufac-
turers offer a ventilation improvement option with each home.    The fresh air in-
let which was proposed to be installed in the heating system wil! be one of the
acceptable options which a manufacturer may offer.    As alternatives to the fresh
air inlet, a manufacturer may offer a passive, mechanical, or a combination of
   Case 2:07-md-01873-KDE-MBN Document 196-12 Filed 05/18/08 Page 15 of 15

                                         HUD-O00014




49 FR 31996-01                                                                Page 14
49 FR 31996-01, 1984 VCL 106759 (F.R.)
(Cite as: 49 FR 31996)

mechanical and passive ventilation system. The ventilation system offered must
improve the ventilation in the manufacturered home’s occupied living spaOe.   A
device which is designed to vent the ceiling c~vity alone, for example, is not ac-
ceptable.

A ventilation improvement sheet must be given to every purchaser before a sales
agreement is signed.    The information sheet will contain a description of the
available ventilation option(s)’and, for mechanical systems, the ventilation capa-
city expressed .in air changes per hour or cubic feet per minute.

    Testing Requirements (§~ 3280. 308(b) and 3280. 406)

The testing requirements contained in the proposed rule generated a lot of com-
ment, particularly from industry sources.   The proposed rule set forth a detailed
scheme for certifying wood products and for production testing using a specified
desiccator test and frequent air chamber retesting to maintain the certification.

i. Test Method

There was general support in the comments for the use of the large air chamber
test.    Commenters agreed that the air chamber test can provide an excellent pre-
diction of actu&l formaldehyde levels in manufactured homes,    Several commenters
did say, however, that testing Wood under controlled conditions has little prac-
tical application to emissions in homes. "

    Certification Testing

Most commenters agreed that certification is appropr±ate and that the large air
chamber test is a reasQnable test method upon which to rely. Certification will
take place on a plant-by-plant basis.    Since the rule no longer specifies that
exceeding a desiccator test value will trigger an air chamber test, the certifica-
tion process does not mandate the performance of a desiccator test. Production
testing me~hods are to be determined by the certifying agency. (See Production
Testing, below.)    However, air chamber testing must be conducted on a quarterly
basis, rather than semiannually.as proposed.

Some commenters recommended that HUD incorporate by reference th4 air chamber
test developed by the Hardwood Plywood Manufacturers Association and the National
Particleboard Association, FTM-2-1983.    These commenters stated that the industry
test includes provisions for prehandling of boards, background formaldehyde
levels, and sample spacing, and therefore is more complete than the proposed
test.    They also preferred the industry’s selection of a seven-day precondition-
ing period, in lieu of the two-day peri6d proposed, and the 75 F plus or minus
2 chamber temperature as opposed to the 77 F plus or minus 2 proposed by HUD.

Other commenters addressed the conditions in the chamber selected by the Depart-
ment.    Ventilation rate, temperature, and humidity Were all criticized in the
